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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  In re:                                      §
                                              §       Case No. 23-10164-smr
  ASTRALABS, INC.,                            §
                                              §       Chapter 7
           Debtor.                            §

                     NOTICE OF FINAL HEARING TO CONSIDER
              MOTION TO (I) AUTHORIZE SERVICE ON CERTAIN PARTIES
              BY E-MAIL AND (II) APPROVE THE FORM OF E-MAIL NOTICE
                                [Relates to Docket No. 155]

  TO ALL PARTIES IN INTEREST, PLEASE TAKE NOTICE THAT:

           A final hearing (the “Hearing”) has been scheduled to take place on August 30, 2023 at

  10:00 a.m. (prevailing Central Time) to consider Trustee’s (Expedited) Motion to (I) Authorize

  Service on Certain Parties by E-mail and (II) Approve the Form of E-Mail Notice [Docket

  No. 155] (the “Motion to Authorize E-Mail Notice”). The Hearing is scheduled to proceed

  in-person in the court room of Judge Shad M. Robinson at the U.S. Bankruptcy Courthouse

  located at Homer J. Thornberry Federal Judicial Building, 903 San Jacinto Blvd., Third Floor,

  Courtroom 1, Austin, Texas 78701.




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  Dated: August 9, 2023                               Respectfully submitted,

                                                      By: /s/ Thanhan Nguyen
                                                        Jay H. Ong
                                                        Texas Bar No. 24028756
                                                        Thanhan Nguyen
                                                        Texas Bar No. 24118479
                                                        MUNSCH HARDT KOPF & HARR, P.C.
                                                        1717 West 6th Street, Suite 250
                                                        Austin, Texas 78703
                                                        Telephone: (512) 391-6100
                                                        Facsimile: (512) 391-6149
                                                        Email:      jong@munsch.com
                                                                    anguyen@munsch.com

                                                      Counsel for Randolph N. Osherow,
                                                      Chapter 7 Trustee

                                  CERTIFICATE OF SERVICE

          As expressly authorized by the Court and by his signature below, the undersigned hereby
  certifies that he personally caused to be served a true and correct copy of this document on the
  9th day of August 2023, via e-mail transmission upon the parties listed at Official Docket
  No. 244.

           The undersigned hereby further certifies that, on the 9th day of August 2023, he
  personally caused true and correct copies of the foregoing pleading to be served by electronically
  filing it with the Court using the Court’s CM/ECF system, which sent notification to the parties
  receiving same through such system:

         Cleveland R Burke on behalf of Creditor Capitol Vending and Coffee Company
         cleveland.burke@hklaw.com; tammy.greenblum@hklaw.com;
         annmarie.jezisek@hklaw.com

         Lisa C. Fancher on behalf of Creditor 3423 Holdings
         lfancher@fritzbyrne.law

         Shanna M Kaminski on behalf of Interested Party Apex Funding Source, LLC
         skaminski@kaminskilawpllc.com

         Robert Chamless Lane on behalf of Debtor ASTRALABS Inc
         chip.lane@lanelaw.com; thelanelawfirm@jubileebk.net; notifications@lanelaw.com

         Ryan Lott on behalf of Creditor Athletes to Athletes, Inc.
         thelottfirm@gmail.com




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        Paul David Moak on behalf of Creditor AFCO Credit Corporation
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        Daniela Mondragon on behalf of Creditor AFCO Credit Corporation
        dmondragon@reedsmith.com

        Thanhan Nguyen on behalf of Trustee Randolph N Osherow
        anguyen@munsch.com

        Jay Ong on behalf of Trustee Randolph N Osherow
        jong@munsch.com; amays@munsch.com; jay-ong-4326@ecf.pacerpro.com

        Randolph N Osherow
        rosherow@hotmail.com; rosherow@ecf.axosfs.com

        Stephen W. Sather on behalf of Creditors Casey Melcher, Hasan Ugur Koyluoglu,
        Matthew Kelly, and Thomas Dolezal
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        Ron Satija on behalf of Creditor Andrew Ryan
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        Gregory Raymond Siemankowski on behalf of multiple creditor parties
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        cchristensen@bn-lawyers.com

        John Mark Stern on behalf of Creditor Texas Comptroller of Public Accounts, Revenue
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        bk-jstern@oag.texas.gov; sherri.simpson@oag.texas.gov

        Eric Terry on behalf of Trustee Eric Terry
        eric@ericterrylaw.com; ebterry@ecf.axosfs.com

        Shane P. Tobin on behalf of U.S. Trustee United States Trustee - AU12
        shane.p.tobin@usdoj.gov; Carolyn.Feinstein@usdoj.gov; gary.wright3@usdoj.gov

        United States Trustee - AU12
        ustpregion07.au.ecf@usdoj.gov

                                                  By: /s/ Thanhan Nguyen
                                                         Thanhan Nguyen, Esq.




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